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 FLORENCE T. NAKAKUNI 2286
 United State Attorney
 District of Hawaii

 HARRY YEE 3790
 Assistant U.S. Attorney
 300 Ala Moana Boulevard
 PJKK Federal Bldg., Rm. 6-100
 Honolulu, Hawaii 96850
 Telephone: (808) 541-2850
 Facsimile: (808) 541-3752
 Email: Harry.Yee@usdoj.gov

 Attorneys for Defendant
 UNITED STATES OF AMERICA

                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 PHILIPPE DE LA COUTURE and     )       CIVIL NO. 10-00040 DAE LEK
 CHANTALLE C. DE LA COUTURE,    )       (Medical Malpractice)
                                )
                Plaintiffs,     )       STIPULATION OF DISMISSAL WITH
                                )       PREJUDICE; ORDER
                                )
      v.                        )
                                )
 UNITED STATES OF AMERICA,      )
                                )
                Defendant.      )
                                )
 ______________________________ )

                STIPULATION OF DISMISSAL WITH PREJUDICE
            IT IS HEREBY STIPULATED by and between the parties
 above-named, by and through their respective counsel undersigned,
 pursuant to Rule 41(a)(1)(ii), Federal Rules of Civil Procedure,
 that pursuant the STIPULATION FOR COMPROMISE SETTLEMENT AND
 RELEASE OF FEDERAL TORT CLAIMS ACT CLAIMS PURSUANT TO 28 U.S.C. §
 2677 signed by the parties to the above-entitled action, the
 parties hereby stipulate that the present action be dismissed
 with prejudice, each party to bear its own costs.          However, this
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 action may be reinstated by either party or the court if the
 above entitled settlement is materially breached.          There are no
 remaining claims or parties.       This stipulation may be signed in
 counterparts.
            DATED: _____________________, at Honolulu, Hawaii.
                                          FLORENCE T. NAKAKUNI
                                          United States Attorney
                                          District of Hawaii

                                              /s/ Harry Yee
                                          By __________________________
                                             HARRY YEE
                                             Assistant U.S. Attorney
                                          Attorneys for Defendant
                                          UNITED STATES OF AMERICA


            DATED: _____________________, at Honolulu, Hawaii.

                                            /s/ L. Richard Fried, Jr.
                                          _____________________________
                                          L. RICHARD FRIED, JR.
                                          JOHN D. THOMAS
                                          Attorneys for Plaintiffs


 APPROVED AND SO ORDERED: June 2, 2010




                                    _____________________________
                                    David Alan Ezra
                                    United States District Judge




 De La Couture, et al. v. United States; Civil No. 10-00040 DAE
 LEK; STIPULATION OF DISMISSAL WITH PREJUDICE; ORDER

                                      2
